Case 1:22-cv-00803-AJT-WEF Document 14 Filed 09/16/22 Page 1 of 5 PageID# 57




                      IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA

       MARTIN J WALSH                     )
       SECRETARY OF LABOR                 )
       U.S. DEPARTMENT OF LABOR           )
                                          )
                        Plaintiff,        )
                  v.                      )     Case No.: 1:22-cv-803
                                          )
       SERENITY HOME HEALTHCARE, LLC )
       SERENITY HOME HEALTHCARE-          )
       NORFOLK, LLC;                      )
       SERENITY HOME HEALTHCARE-          )
       WARRENTON, LLC                     )
       SERENITY HOME HEALTHCARE-          )
       STERLING, LLC                      )
       HILDIGARD NANA OFORI               )
       ARAFAT SHEIKHADAM                  )
                                          )
                        Defendants.
        ______________________________________________________________________

                  DEFENDANTS’ ANSWER TO PLAINTIFF’S CONPLAINT


       COMES NOW Defendants by counsel, and for their Answer to Plaintiff’s Complaint,

hereby states as follows:

       1.      The Defendants lack the knowledge or information to form a belief as to the truth

       of the allegation in Paragraph 1. To the extent a response is required, the allegations in

       Paragraph 1 is denied.

       2.      Admit that the allegation in Paragraph 2 is true.

       3.      The Defendants lack the knowledge or information to form a belief as to the truth

       of the allegation in Paragraph 3. To the extent a response is required, the allegations in

       Paragraph 3 are denied. Denied that Jurisdiction and Venue is within this District.

       4.      Admit that the allegation in Paragraph 4 is true.

                                                 1
Case 1:22-cv-00803-AJT-WEF Document 14 Filed 09/16/22 Page 2 of 5 PageID# 58




     5.     Admit that the allegations in Paragraph 5 is true.

     6.     The Defendants lack the knowledge or information to form a belief as to the truth

     of the allegation in Paragraph 6. To the extent a response is required, the allegations in

     Paragraph 6 are denied with respect to the alleged employees attached as Schedule A.

     7.     The Defendants lack the knowledge or information to form a belief as to the truth

     of the allegation in Paragraph 7. To the extent a response is required, the allegations in

     Paragraph 7 are denied with respect to the alleged employees attached as Schedule A.

     8.     The allegation contained in Paragraph 8 is a legal conclusion that does not require

     a response. To the extent a response is required, the allegations in Paragraph 8 are denied

     9.     The allegation contained in Paragraph 9 is a legal conclusion that does not require

     a response. To the extent a response is required, the allegations in Paragraph 8 are denied.

     10.    The allegations contained in Paragraph 10 are denied.

     11.    The allegations contained in Paragraph 11 are denied.

     12.    The allegation contained in Paragraph 12 is a legal conclusion that does not require

     a response. To the extent a response is required, the allegation in Paragraph 12 is denied.

     13.    The allegation contained in Paragraph 13 is a legal conclusion that does not require

     a response. To the extent a response is required, the allegation in Paragraph 13 is denied.

     14.    The allegation contained in Paragraph 14 is a legal conclusion that does not require

     a response. To the extent a response is required, the allegation in Paragraph 14 is denied.

     15.    The allegation contained in Paragraph 15 is denied.

     16.    All the paragraphs containing WHEREFORE clauses in the Complaint and the

     relief requested, along with any other unnumbered paragraph, are Denied.




                                              2
Case 1:22-cv-00803-AJT-WEF Document 14 Filed 09/16/22 Page 3 of 5 PageID# 59




                 GROUNDS OF DEFENSE AND AFFIRMATIVE DEFENSES

       1.      Defendants are not Employers of the Care Providers Listed in Schedule A of

Plaintiff’s complaint.

       2.      The Care Providers listed in attached Schedule A are Family and household care

providers exempt from overtime pay as they are live-in domestic workers under Section 13(b)(21)

of the FSLA.

       3.      The Care Provider listed in the attached Schedule A of Plaintiff’s complaint are not

economically dependent on Defendants.

       4.      There is both a familial or household relationship and employment relationship,

and Plaintiff has jurisdiction only over hours worked within the scope of the employment

relationship covered under the FLSA.

       5.      The Care Recipient are members in a Medicaid Funded program and certain other

publicly funded programs offering Home Care Services under the FLSA.

       6.      In the event that Defendants were to be deemed to be the employer of any

individuals identified in Schedule A attached to this Complaint, which Defendants expressly deny,

any alleged failure to pay overtime by Defendants were not willful, and thus a two-year limitations

period applies to any FLSA claims pursuant to 29 U.S.C. §255. Further, the two-year statute of

limitations applicable to FLSA claims under 29 U.S.C. §255 bars any claims, in whole or in part,

beyond such period.

       7.      If Defendant is deemed to be the employer of any individuals identified in Schedule

A attached to this Complaint, or are found to have failed to pay such individuals any overtime

allegedly due, all of which Defendants expressly deny, any alleged acts or omissions of Defendants

were in good faith, and Defendants had reasonable grounds for believing that any alleged acts or


                                                3
Case 1:22-cv-00803-AJT-WEF Document 14 Filed 09/16/22 Page 4 of 5 PageID# 60




omissions were not violations of the FLSA, and thus liquidated damages are not appropriate. 29

U.S.C. §§216, 260.

       8.         If Defendant is deemed to be the employer of any individuals identified in Schedule

A attached to this Complaint, or are found to have violated the provisions of Sections 11(c) and

15(a)(5) of the Act, 29 U.S.C. §§211(c) and 215(a)(15), by failing to make, keep and preserve

adequate records of employee wages, hours and other condition of employment, all of which

Defendants expressly deny, any alleged acts or omissions of Defendants were in good faith, and

Defendants had reasonable grounds for believing that any alleged acts or omissions were not

violations of the FLSA and complied with 29 C.F.R. Part 516.

       9.         Plaintiff’s claims, individually or on behalf of individuals identified in Schedule A

attached to this Complaint, are not actionable to the extent that the alleged violation of law is de

minimis.

            WHEREFORE, Defendants pray that judgment be entered as follows:

            (1)      That this Court enter judgment in favor of Defendants and against Plaintiff and

                     that the Complaint be dismissed with prejudice;

            (2)      That this Court award Defendants their attorneys’ fees and costs; and

            (3)      That this Court grant Defendant such further relief as is just and appropriate.

                                 TRIAL BY JURY IS DEMANDED


                                                Respectfully submitted by,
                                                SERENITY HOME HEALTHCARE, LLC, ET. AL
                                                By Counsel


                                                /s/ Zach Miller
                                                Zach Miller, VA Bar No. 85860
                                                McClanahan Powers, PLLC

                                                    4
Case 1:22-cv-00803-AJT-WEF Document 14 Filed 09/16/22 Page 5 of 5 PageID# 61




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                                           Counsel for Defendants

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on 16 day of September 2022, he caused to be
served Defendants’ Answer to Plaintiff’ Complaint via the Court’s ECF filing system which will
serve all counsel of record.


                                                          By:/s/ Zach Miller__________
                                                                 Zach Miller, Esq.




                                              5
